     Case 2:15-cr-00125-DJC-CKD Document 164 Filed 10/17/18 Page 1 of 5


1

2

3

4                          UNITED STATES DISTRICT COURT

5                         EASTERN DISTRICT OF CALIFORNIA

6

7     UNITED STATES OF AMERICA,             No. 2:15-cr-00125-GEB
8                     Plaintiff,
9           v.                              JUDICIAL RESPONSE TO MOTIONS IN
                                            LIMINE
10    BENJAMIN MACIAS,
11                    Defendant.
12

13         Pending are in limine motions.

14               Motion in Limine concerning Rule 404 (b) evidence

15         Defendant moves in a motion filed as ECF 137 for an order

16   requiring the government to provide notice of its intent to use

17   evidence under Rule 404(b) of the Federal Rules of Evidence at

18   trial.      The government subsequently filed a Rule 404(b) notice in

19   ECF No. 152. This filing moots Defendants motion, even assuming

20   arguendo it is an appropriate in limine motion.          Defendant then

21   filed a new motion in opposition to the government’s notice which

22   has been docketed in ECF No. 156, moving to exclude all evidence

23   of arrests and alleged bad acts or provide a limiting instruction

24   to the jury.

25         The government responds stating: “the parties will continue

26   to litigate the issue of the admissibility of Rule 404(b)

27   evidence through . . . pleadings.”        ECF No. 157 1:27-28.       The

28   Rule 404 (b) issues have not been shown to be concrete enough for
                                           1
     Case 2:15-cr-00125-DJC-CKD Document 164 Filed 10/17/18 Page 2 of 5


1    an in limine ruling.

2                            Motion in Limine ECF 138

3          Defendant seeks in a motion docketed in ECF No. 138 a hearing

4    on the admissibility of evidence and any statements sought to be

5    admitted    under   Federal   Rule   of    Evidence   801(d)(2)(E).       The

6    government rejoins with a proffer referencing the evidence it

7    intends to admit under the rule, and argues the referenced evidence

8    is admissible “subject to a motion to strike or a mistrial if [the

9    required] proof is not subsequently made.” ECF No. 157 2:22-23

10   (citing United States v. Miranda-Uriarte, 649 F.2d 1345, 1349 (9th

11   Cir. 1981)

12         The government’s proffer is sufficient to allow the admission

13   of   the   challenged   evidence     without   a   hearing   prior   to   its

14   admission.    It is understood that the government states that the

15   parties “agree[] that the Court must find—at some point in the

16   trial, by a preponderance of the evidence—that any co-conspirator

17   statements offered under Rule 801(d)(2)(E) were made in the course

18   of and in furtherance of the conspiracy.” ECF No. 157, at 2-6.

19   Therefore, this motion is denied.

20                           Motion in Limine ECF 139
21         Defendant also filed a motion in limine docketed as ECF No.

22   139 requesting the government disclose all witness agreements.

23   The government responded stating it intends to comply with the

24   law applicable to the motion.        ECF No. 157 2:27-28.     In light of

25   the government’s response, this motion does not present a

26   controversy justifying an in limine ruling.
27                           Motion in Limine ECF 140

28         Defendant seeks in a motion docketed as ECF No. 140 an order
                                            2
     Case 2:15-cr-00125-DJC-CKD Document 164 Filed 10/17/18 Page 3 of 5


1    requiring the government to inspect and produce the personnel

2    files of all federal law enforcement officers the government

3    intends to call as witnesses as required by United States v.

4    Henthorn, 931 F.2d 29 (9th Cir. 1991).        Henthorn requires the

5    government to “disclose information favorable to the defense that

6    meets the appropriate standard of materiality.” Id. at 931 F.2d

7    at 30–31 (quoting United States v. Cadet, 727 F.2d 1453, 1467-68

8    (9th Cir. 1984)).     Under Henthorn the government may obtain a

9    judicial in camera decision on whether certain personnel records

10   must be given to the defense. Id. at 931 F.2d at 30-31.

11         The government filed personnel records under seal for in

12   camera judicial review.      ECF No. 153, 154.     The in camera review

13   of the submitted information found nothing material in the

14   documents, therefore, disclosure is not justified.

15                           Motion in Limine ECF 141

16         Defendant moves in the motion filed in ECF docket No. 141, at

17   2:1-5, as follows:

18               [t]hat the government be ordered not to
                 reference in opening statement, and not to
19               introduce at     trial, any expert witness
                 testimony under Federal Rule of Evidence 702,
20               including   opinion   testimony,   until each
                 purported expert is first examined by the
21               defense in voir dire, outside the presence of
                 the jury, as to his or her knowledge, skill,
22               experience,     training,    education,   and
                 expertise.
23

24         The government responds by "agree[ing] that it will not make

25   reference to any expert testimony until defense counsel has had an

26   opportunity to examine such expert in voir dire."         ECF No. 157 3:8-
27   16.   It is unclear whether the government’s response includes the

28   Defense’s requested voir dire, “outside the presence of the jury."
                                           3
     Case 2:15-cr-00125-DJC-CKD Document 164 Filed 10/17/18 Page 4 of 5


1          However, neither party has presented authority supporting

2    the position that the defense is always entitled to voir dire an

3    expert witness before the government completes its examination of

4    the witness, nor that the referenced defense voir dire must occur

5    outside the presence of the jury.        These unsupported propositions

6    fail to show recognition that "[t]he trial court [has

7    considerable] latitude in deciding how . . . an expert's

8    reliability [is determined], and to decide whether or when [a]

9    special . . . proceeding[] [is] needed to investigate reliability

10   . . . "   Kumho Tire Co., Ltd. v. Carmichael 526 U.S. 137, 152

11   (1999); See Fed. R. Evid. 611 prescribing, "The court should

12   exercise reasonable control over the mode of examining witnesses

13   and presenting evidence. . ."

14         Since neither party’s position is supported by authority and

15   since no controversy exists justifying the relief or procedure

16   sought, the portion of the motion concerning voir dire outside

17   the presence of the jury has not been shown to justify an in

18   limine decision.     Further, no apparent controversy exists on the

19   remaining portions of the motion.

20                           Motion in Limine ECF 142
21         Defendant moves in ECF docket No. 142 for an in limine

22   ruling excluding his past felony convictions from his impending

23   trial under Federal Rules of Evidence Rule 609.          The government

24   responds that it will not use criminal convictions older than 10

25   years past the date of conviction and the end of confinement to

26   impeach Mr. Macias, should he seek to testify.          The government
27   further responds:

28               At this moment, the government does not have
                                       4
     Case 2:15-cr-00125-DJC-CKD Document 164 Filed 10/17/18 Page 5 of 5


1                precise information as to when Macias was
                 released from confinement following his March
2                3, 2006, conviction for evading a police
                 officer.   Should it become clear that his
3                release date was more than 10 years before his
                 testimony, the government will not seek to
4                impeach him on that conviction or on his other
                 convictions, which are more clearly outside
5                the scope of the 10-year rule.

6
     ECF No. 157 3:20-26.      Defendant has not shown an in limine ruling
7
     should issue on the prior conviction issue.
8
                              Motion to Sever ECF 145
9
           Defendant moves in limine in ECF docket No. 145 for an order
10
     severing Count 10 in the indictment (alleging he is a felon in
11
     possession of a firearm) from the other charges against him,
12
     arguing    evidence   concerning    this   charge    would   impermissibly
13
     prejudice him “because he would be unfairly branded as a ‘bad
14
     person,’ which may influence the jury to convict him on other
15
     counts.”    ECF No. 145 3:11-15; Gov’t Opp. ECF No. 157 at 4:2-5.
16
     The government opposes the motion, offering a jury instruction
17
     stating: “evidence of prior crimes should not be considered as
18
     evidence of character or of propensity to commit the same acts
19
     again.” Id. at 4:21-23.     The government contends a jury instruction
20
     could minimize any concern of prejudice.        Defendant’s motion fails
21
     to show that he cannot be “safeguard[ed] . . . from the prejudicial
22
     effect of . . . evidence” concerning the felon in possession charge.
23
     U.S. v. Nguyen 88 F.3d 812, 815 (9th Cir. 1996).         Accordingly, this
24
     motion is denied.
25
           Dated:   October 16, 2018
26
27

28
                                           5
